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     R.B., Petitioner  v.  The People of the State of Colorado, Respondent  In the Interest of Minor Child: O.B., and Concerning A.L. No. 24SC630Supreme Court of Colorado, En BancNovember 4, 2024
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 24CA255
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari DENIED.
    